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                               United States District Court
                                         for the
                               Southern District of Florida

  Beverly Dorcena, Plaintiff               )
                                           )
  v.                                       )   Civil Action No. 17-20234-Civ-Scola
                                           )
  Pollack & Rosen, P.A., Defendant.        )

                                Order Of Dismissal
        The parties have dismissed this case with prejudice in accordance with
  Federal Rule of Civil Procedure 41(a)(1)(A)(ii). (Joint Stip. for Dismissal with
  Prejudice, ECF No. 13). The Court directs the Clerk to close this case. All
  pending motions, if any, are denied as moot.
        Done and ordered in chambers, at Miami, Florida, on June 30, 2017.


                                                ________________________________
                                                Robert N. Scola, Jr.
                                                United States District Judge
